       Case 1:19-cv-11118-LJL-BCM Document 19 Filed 10/15/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                               10/15/20
 HANAN M. OHAYON,
                                                          19-CV-11118 (LJL) (BCM)
                 Plaintiff,
                                                          ORDER
 -against-
 MICHELINE S. AMY,
                 Defendant.

BARBARA MOSES, United States Magistrate Judge.

        By Order dated August 19, 2020 (Dkt. No. 18), the Court directed the parties to submit a

joint status letter by October 12, 2020. No such letter has been filed. No later than October 16,

2020, the parties shall file their joint status letter.


Dated: New York, New York                         SO ORDERED.
       October 15, 2020


                                                  ________________________________
                                                  BARBARA MOSES
                                                  United States Magistrate Judge
